el Sprint > Gol 56% a )
April ~
26 SUNTRUST IS DUE 528 DEAUVILLE CO!
8-9 AM

RENASANT BANK IS DUE 11569 SW 14(
9-10 AM

AMROCK IS DUE 8799 SW 79TH CT
10-11 AM

REGIONS IS DUE 7695 W MISS MAGGII
11 AM-12 PM

SHELDON AND BOYD
Vio =A)
SUCCESS MORTGAGE IS DUE 1357 MO

Seay

US BANK IS DUE 1712 SE 35TH LN
9-10 AM

(2) APPRAISAL LOGISTICS IS DUE
10-11 AM

REGIONS BANK IS DUE 7695 W h +
11 AM-12 PM

 
el Sprint > 3:20 PM Gol 56% a )

April ~

D7 SUCCESS MORTGAGE IS DUE 1357 MO
Eri Seca

 

US BANK IS DUE 1712 SE 35TH LN
9-10 AM

(2) APPRAISAL LOGISTICS IS DUE
TOR MA

REGIONS BANK IS DUE 7695 W MISS M
11 AM-12 PM

INSPECTION WITH TANYA
Se aN

 

April 29 — May 5

30 SUCCESS MORTGAGE IS DUE 10301N .
Mon 8-9 AM

 

INSPECTION WITH CHRISTINA 79 HEM
TOR May

 

 

Wf oe N

oy wan

   

A
ol’ Sprint > 3:20 PM Gol 56% @_)

=  #  May~-

? APPRAISAL LOGISTICS IS DUE 79 HEM!
Wed 8-9 AM

 

AMROCK IS DUE 11225 SE 73RD CT (BI
9-10 AM

3 TD BANK IS DUE ALACHUA COUNTY T/
Thu 8-9 AM

 

 

5 Cinco de Mayo
Sat
May 6-12
7 JACKSON PAYMENT IS DUE

Mon 10-11 AM

 

May 13 - 19

13
sun

 

Mercedes-Suntrust
8-9 AM

 
ol Sprint > 4 Gil 79% Ge)

April ~

AMROCK IS DUE 2919 N RIVERS EDGE |
7:30-8:15 AM

REGIONS IS DUE TBD MASTER PLAN 1€
Sealy

INSPECTION WITH TANYA 2919 N RIVE
9-9:30 AM

TBD MASTER PLAN 1860 , (WILDWOOL
9-10 AM

INSPECTION WITH TANYA 13 S LEE ST
10-10:30 AM

INSPECTION WITH TANYA 385 E Hartfc
10:30-11:30 AM

INSPECTION WITH TANYA 77 S J KELLI
11:30 AM-12:30 PM

TD Bank Conference Call 1 pm to 2 pm

aay

TD BANK IS DUE 3351SW 49TH
8-9 AM

 
eal Sprint >

 

April 22 - 28

3:09 PM FT Gol 79% (a )»

April ~

TD BANK IS DUE 3351 SW 49TH TER
Seay

REGIONS BANK IS DUE 1605 SW 31ST 1
8:30-9:30 AM

INSPECTION WITH TANYA 13293 SE 10
9-9:30 AM

CONSOLIDATED ANALYTICS IS DUE 13:
9:30-10 AM

INSPECTION WITH CHRISTINA 225 NE |
10-11 AM

AMROCK IS DUE 385 E HARTFORD ST |
11 AM-12 PM

RENASANT IS DUE 3820 SE 33RD AVE
Vt

JOURDONS BIRTHDAY
yaa

 

 
 
ol Sprint > 3:09 PM 4 Gil 79% Ge)
= April ~

TD BANK IS DUE 77 S J KELLNER BLVD
23 8:30-9:30 AM

 

Mon

INSPECTION WITH TANYA 9030 SE 701
9:30-10:30 AM

APPRAISALPORT IS DUE 13 S LEE ST (E
10:30-11:30 AM
24 APPRAISAL PORT IS DUE 10112 MAINS,

Tue 8-9 AM

APPRAISAL LOGISTICS IS DUE 7365 SV
9-10 AM

INSPECTION WITH CHRISTINA 11569 S
10-11 AM

25 (COMMERCIAL) IBM SE EMPLOYEES' C!
Wed 8-9 AM

 

APPRAISAL LOGISTICS IS DUE 399 SE |

=o

26

Thu

 
